Case 5:20-cv-01429-XR Document 1-2 Filed 12/15/20 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

 

Western District of Texas

 

 

MELANIE WHITLEY )
)
)
)
Plaintiffs) )
v. Civil Action No. 5:20-cv-01429
THE CITY OF SAN ANTONIO, THE CITY OF SAN )
ANTONIO POLICE DEPARTMENT AND MISTY )
FLOYD )
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

The City of San Antonio Police Department
By and through:

Chief William McManus

315 S. Santa Rosa

San Antonio, Texas 78207

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Kelly Kelly

Anderson & Associates Law Firm
2600 SW Military Drive, Suite 118
San Antonio, Texas 78224

If you fail to respond, judgment by default will be entered against you for the relief demanded m the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
Case 5:20-cv-01429-XR Document 1-2 Filed 12/15/20 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No. 5:20-cv-01429

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

©) I personally served the summons on the individual at (place)

 

on (date) ; Or

 

O T left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

O Iserved the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
O I returned the summons unexecuted because ; or
1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:
